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           EXHIBIT 31
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                                                                       Page 1

1                IN THE UNITED STATES DISTRICT COURT
2              FOR THE NORTHERN DISTRICT OF GEORGIA
3                              ATLANTA DIVISION
4
       _____________________________
5
       DONNA CURLING, ET AL.,
6
                     Plaintiffs,                    CIVIL ACTION FILE
7                                                   NO. 1:17-CV-2989-AT
       vs.
8
       BRAD RAFFENSPERGER, ET AL.,
9
                     Defendants.
10     _____________________________
11
12               VIDEO-RECORDED 30(b)(6) DEPOSITION
13                   TAKEN VIA VIDEOCONFERENCE OF
14             GEORGIA SECRETARY OF STATES' OFFICE
15                     BY: SANFORD MERRITT BEAVER
16                                        AND
17                        SANFORD MERRITT BEAVER
18                      IN HIS PERSONAL CAPACITY
19                          (Taken by Plaintiffs)
20                             Atlanta, Georgia
21                     Wednesday, February 2, 2022
22                                   9:08 a.m.
23
24
                     Reported stenographically by
25           V. Dario Stanziola, CCR (GA)(NJ), RPR, CRR

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1       Exhibit 24: E-mail string with the                                 214
        top from Merritt Beaver dated
2       11/12/2020
3       Exhibit 25: E-mail from Jason                                      220
        Matthews dated 11/3/2020
4
        Exhibit 26: E-mail string with the                                 224
5       top from Kevin Robertson dated
        8/14/2020
6
        Exhibit 27: E-mail string with the                                 226
7       top from Merritt Beaver dated
        3/3/2019
8
        Exhibit 28: E-mail from Nick Salsman                               240
 9      dated 8/14/2020
10      Exhibit 29: Document entitled                                      250
        Election Office Notes: 10 am
11      6/15/2020 Meeting
12
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1                    THE STENOGRAPHER:            I can't hear him.
2            A.      Can you hear me?
3            Q.      You kind of cut in and out I think with
4     the microphone.
5            A.      I can sit closer.
6                    Is that -- is that better?
7            Q.      Little bit.         It tends to lose the first
8     word or two is what I hear.
9            A.      I'm not sure what -- what to do for
10    you.
11                   THE VIDEOGRAPHER: I can walk him
12             through making a quick adjustment, counsel,
13             that it should help.              Would you like to --
14             it could -- it's pretty quick.                    We can do
15             it on the record or go ahead and go off
16             real fast.
17                   MR. CROSS:        We can go off.
18                   THE VIDEOGRAPHER:            The time is 9:10.
19             We're off the record.
20                   (A DISCUSSION WAS HELD OFF THE RECORD.)
21                   THE VIDEOGRAPHER:            The time is 9:11.
22             We're back on the record.
23    BY MR. CROSS:
24           Q.      Good morning, Mr. Beaver.
25           A.      Good morning.

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1     You can flip through it.
2             A.     This looks -- yeah, this looks like the
3     document that counsel had shown me before.
4             Q.     Okay.      So scroll down to -- oh, there
5     are no page numbers.             The -- sorry about that.
6     The page that has amended topics on the top.                         It
7     looks like it's page 7 of the PDF.
8             A.     I'm there.
9             Q.     And do you see topic 1 reads,
10    Implementation and operation of Georgia's current
11    election system limited to the following
12    subtopics and then there's subtopic A; do you see
13    that?
14            A.     Yes.
15            Q.     And then subtopic B and C are at the
16    top of the next page.
17                   Do you see that?
18            A.     Yes.
19            Q.     And do you understand you've been
20    designated by the Secretary's office to testify
21    today on topics 1 A, B and C?
22            A.     Yes.
23            Q.     Okay. And then scroll down to topic 10,
24    if you would, please, which is on page 14 of the
25    PDF.

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1             A.     I see.      Yes.
2             Q.     And do you understand you've been
3     designated to testify on that topic today?
4             A.     Yes.
5             Q.     And then if you come to the last topic,
6     18, on page 15; do you see that?
7             A.     Yes.
8             Q.     And do you understand you've been
9     designated to testify on that topic today as
10    well?
11            A.     Yes.
12            Q.     Are there any other topics in here that
13    you understand you're designated to testify on
14    today that we've not addressed?
15            A.     Give me a moment.            No.
16            Q.     Okay.      All right.        Come back to topic
17    1A, if you would, please.
18            A.     1A.     I'm here.
19            Q.     And what did you do to prepare to
20    testify on topic 1A today?
21            A.     I went and validated -- first off,
22    let's define malware.              Malware is an application
23    program that runs on a computer that was
24    basically designed to do an action of some sort,
25    all right?

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1     to do anything with the old system.                      When we
2     finished using the old system we just turned it
3     off.
4            Q.      When did that happen?
5            A.      We walked away from it.
6            Q.      When did that happen?
7                    When did you turn off the old system?
8            A.      It was -- I'd have to go back and look.
9     I mean, I'd be guessing right now.
10           Q.      Do you have any time frame?
11                   Was it 2019 when you rolled out the new
12    system or was it 2020?
13           A.      We had the old system still on -- I'll
14    say turned on.          But we essentially -- we call it
15    put it over in the corner because nobody was
16    using it for about six months just in case there
17    was any questions about something that was done
18    in that system.           So it would be somewhere towards
19    the end of '19, probably into early 2000 that we
20    literally unplugged it.
21           Q.      And did servers from the old system sit
22    in the same environment as the new system at any
23    point?
24           A.      Nope.      They were in totally different
25    racks.      In fact, the rack was on wheels.                     When we

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1     finished we literally rolled it into a caged area
2     that was locked, pulled all the cables off of it
3     and left it in a secure area.                   So it -- nobody
4     could accidentally get into it.                    It would have
5     taken somebody from my group to go reset it up.
6            Q.      Okay.      Who did you meet with you said
7     about two or three weeks ago to validate this for
8     the system?
9            A.      Who did I meet with?              My director of
10    technology.        My -- a couple of the people that
11    work with him.
12           Q.      What's his name?
13           A.      Jason Matthews.
14           Q.      You said Jason Matthews?
15           A.      Yeah, Jason Matthews.
16           Q.      And who else did you meet with?
17                   What are their names?
18           A.      Ronnell Spearman and Kevin Fitts.
19           Q.      And they are report to the director of
20    technology?
21           A.      Yes.
22           Q.      And were they the ones that were
23    responsible for setting up the -- the new system
24    and turning off the old one?
25           A.      Ronnell was involved in that group,

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1     Jason was involved in that group.                     I think Kevin
2     was more on the sidelines, was being informed as
3     to what was going on.              He was part of the team
4     that -- that was more consulted as to what we
5     should do.        But I don't know that he had any
6     hands-on.
7            Q.      Do they have log-in credentials for the
8     Dominion EMS server at the state?
9            A.      Yes.
10           Q.      Do you?
11           A.      No.
12           Q.      Who else has log-in credentials for the
13    state Dominion EMS server?
14           A.      On the -- it's called the
15    infrastructure team.             Those are the IT people
16    that manage the servers.                They're probably maybe
17    two, two other people.
18           Q.      And they're on the infrastructure team?
19           A.      Yes.
20           Q.      Okay.      Do you know if anyone in Michael
21    Barnes's office has log-in credentials?
22           A.      I have one person that's on the
23    infrastructure team that works over in his group.
24    And I believe he does.               His group is actually in
25    a different building.              So we -- we have to have

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1      somebody on site to support his group.
2             Q.      You said there's no equipment used with
3      the old system that's used with the new system.
4      Did I understand that right?
5             A.      Correct.       The old system was
6      Windows-based running access.                   It's a very old
7      Windows 2000 environment.                The new system is
8      Android-based.
9             Q.      The -- the individuals who have log-in
10     credentials for the new system for the EMS
11     server, did you guys replace all of their laptop
12     computers, any electronic equipment that they use
13     for their work with respect to elections?
14            A.      Are you saying the -- the people that
15     work over in the -- in election center?                        The
16     people that use this new environment?
17            Q.      I'm saying anyone who has access or
18     uses this new environment, did you replace all of
19     their electronic equipment that they use for
20     their work?        So computers, laptops, removable
21     media?
22            A.      Yes, all -- all desktops, everything
23     connected to that new environment, including the
24     wires in the wall, were all brand new.                        The
25     desktop computers that they used to tie into it

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1      were brand new.           We started clean, fresh.                   We did
2      not take any chances by introducing anything old.
3             Q.      And how do you -- I'm sorry.                   Go ahead.
4             A.      We did not share any of the networking
5      infrastructure.           That was all new.
6             Q.      And are you saying -- you're also
7      saying that there is no data in the old system
8      that's used with the new system?
9             A.      Correct.       As I said, it's not
10     compatible.
11            Q.      So how does that work for the data in
12     E-Net?      Doesn't --
13            A.      So -- so for the new system, we had to
14     go back to E-Net and get new data and bring it
15     over to the new system.
16            Q.      All right.        So how did you do that?
17                    I thought you said there's no data from
18     the old system used in the new system?
19            A.      The old system -- there are multiple
20     systems.       Their E-Net is not the voter -- the
21     votering balloting system.                 The question that
22     this test talks about is all of the ballot and
23     voting system, not the voter registration system.
24     So when you're speaking of the system, I need you
25     to tell me which system you're talking about.                            So

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1      voter registration system is different than the
2      ballot generation system that feeds the -- the
3      vote-taking system, the voting system.                        It's two
4      complete environments.               Two totally different
5      systems.
6             Q.      So you don't --
7             A.      The only thing that comes from one to
8      the other is E-Net will export information about
9      candidates over to the balloting system.
10            Q.      Do you not consider Georgia's voter
11     registration system part of the state's election
12     system?
13            A.      That is an umbrella statement.                    And
14     when you say the election system, there are
15     numerous systems.            They're not tied together.
16     They're all independent systems that are run and
17     managed independently.               So you can't apply
18     something about one system to the other system.
19     Operating systems are different, applications are
20     different.        The actual users are different.
21            Q.      So let me -- let me just make sure I
22     understand.        I just want to see -- so does
23     Georgia's election system include the voter
24     registration database or that's something
25     separate?

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1      included in the election system today?
2             A.      So they -- at the data center where the
3      election system is held there is a whole network
4      environments which components for security and
5      basically segmenting networks, the actual
6      environment itself.             Each of our environments
7      have those kind of components in it.                       They're not
8      necessarily the same.              They're different based on
9      the system that it's protecting and the system
10     it's supporting.
11            Q.      Anything else, any other components?
12            A.      I'm sure there's other more detailed --
13     I mean, depending on how granular we want to get
14     into defining what an environment is holding.
15     But those are the high level things.
16            Q.      Okay.      What interactions are there, if
17     any, between the Dominion air gaps election
18     system that you talked about earlier that you
19     said is air gapped and the voter registration
20     database or E-Net?
21            A.      Well, there is not necessarily
22     interaction between the two.                  There is a data
23     transfer that happens for each election where
24     somebody from the election center will download a
25     file from E-Net, it will go through numerous

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1      security checks and then it gets uploaded into
2      the air gap environment following NIST protocols,
3      that's the National Institutes of Science and
4      Technology.        They're the ones that define that we
5      follow defining an air gapped environment.
6             Q.      And you said that -- so the data gets
7      transferred from E-Net into the Dominion EMS for
8      a particular election and it goes -- that process
9      goes through numerous security steps.
10                    What are those security steps?
11            A.      So the device that gets used gets
12     formatted by an independent device that's not
13     tied to a computer.             It's strictly a formatter.
14     It's literally a hardware device that you plug
15     electricity into the wall.                 That's it.         It has no
16     operating system other than a hard program that's
17     formats a USB.          So nothing could ever get stored
18     on it.      It formats the USB drive to clean it so
19     that we know nothing has ever moved to it or
20     anything that was on it is off.
21                    Then it gets inserted into a PC that's
22     tied into the election system.                   It is immediately
23     scanned -- once the file comes down to that thing
24     it's immediately scanned for any malware, any
25     strange things that could be also on it.                         Then it

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1      gets moved over to the -- a PC that's tied into
2      the air gapped environment and it gets uploaded.
3             Q.      And is that device, is that a hard
4      drive?
5             A.      It's a flash drive.
6             Q.      Oh, okay.        And is that a new flash
7      drive every time these transfers are done or are
8      those flash drives reused?
9             A.      Potentially could be reused.                   But as I
10     said, they get completely formatted by a box that
11     is not tied to any Internet.                  Cannot have
12     anything stored on it.               So if there was anything
13     on that flash drive, doesn't matter what it was,
14     it can't transfer off to the formatter.                        The
15     formatter will format that completely blank.
16                    So anything on it, malware, anything is
17     erased.      There's no transferring of old data to
18     the formatter because the formatter is not
19     intelligent to be actually able to hold anything.
20     It just has a function of format.                     So it is
21     probably cleaner than a brand new purchased -- in
22     fact, I'll tell you it is cleaner than a brand
23     new purchased flash drive.                 Even if we use a
24     brand new purchased flash drive, we clean it
25     first just in case the manufacturer had something

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1      on that drive that they didn't know about, we
2      don't trust it.           We clean it.
3             Q.      Are ballot definition files stored on
4      the state EMS for each election?
5             A.      On the state EMS?            What do you mean?
6             Q.      The state EMS server, are ballot
7      definition files uploaded to that server each
8      year or for each election?
9                     MR. DENTON:         Objection.
10            A.      I don't know the term EMS.
11            Q.      Election management system, the
12     Dominion -- the state server that we're talking
13     about.
14            A.      Oh, the ballot building system.
15            Q.      Yes.     Yes.     They're -- let's just back
16     up, make sure we're talking about the same thing.
17     What we've been talking about is a server that
18     the state uses that has the Dominion software on
19     it to run elections, right?
20            A.      Yes, that's the ballot building system.
21            Q.      Okay.
22            A.      So when you say EMS, now I understand
23     what you're saying.
24            Q.      Right.
25                    And have you heard the term election

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1      the process.         You can't use any of the old system
2      information in the new environment.
3             Q.      But you don't know, for example,
4      whether the counties use some of the same USB
5      drives, flash drives that they plugged in or used
6      with the old system, you don't know whether some
7      of them used those with the new system, right?
8             A.      As I said, it's incompatible.                   The
9      flash drives were not the same as the current USB
10     drives.      They weren't USB.             They were a different
11     format.      The plug on them wouldn't fit.
12            Q.      You're saying that it's your belief
13     that the USB drives the counties use with the
14     with respect to elections on the GEMS system, the
15     DRE system, those wouldn't even plug into
16     equipment that they used with the BMD system; is
17     that -- is that really your belief?
18            A.      The DREs, this is the Windows-based
19     voting equipment, had a different format for
20     their flash drive.            They were a square drive
21     device that had, I don't know, 40-hole --
22     pinholes in it.           Wouldn't even come close to
23     fitting in a USB drive, which has got a very
24     rectangular slide-in port.                 So the DREs took a
25     different format flash drive.

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1             Q.      But the DREs are not the only part of
2      the election system at the county level that uses
3      flash drives, right?
4                     They also use desktop computers, laptop
5      computers, they have their own election servers
6      such as for election night reporting, for
7      managing their own system.                 And those would take
8      the same flash drives that would fit on equipment
9      today, right?
10            A.      You asked me about a DRE interface.                   I
11     answered you about a DRE interface.                      So now then,
12     now you're asking me whether or not they have
13     computers that use USB flash drives, which is
14     yes.    The new system has computers which can
15     accept USB drives, yes.
16            Q.      And you've not undertaken any
17     investigation to determine whether the counties
18     got rid of all their old flash drives and
19     replaced them with new flash drives when the new
20     Dominion system was rolled out; is that fair?
21            A.      So if you're asking me if a USB drive
22     that was used with the old DRE system that was
23     running a Windows application using an access
24     database program that potentially could have had
25     malware that was attacking that system, which

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1      built it out, as I said, as a clean system.                          We
2      did not use anything that was tied to the
3      Internet where malware can come into it, get in,
4      infect it.        We have only entered the information
5      that has been scanned for malware into that
6      environment.
7             Q.      So no one, to your knowledge, has
8      actually gone in and done any kind of forensic
9      analysis of any of the BMDs or the Dominion
10     servers at the state or county level to see if
11     they are infected with malware; is that right?
12            A.      I'm not aware of that.
13            Q.      Do you know why that has not been done
14     even on a sampling basis, for example?
15            A.      Not aware that there's any sign that
16     there is any malware on it.                 That's usually the
17     first trigger to look for malware.                     That would be
18     it.
19            Q.      Well, you understand malware can
20     successfully operate in the background without
21     giving an indication that it's there, right?
22                    MR. DENTON:         Objection.
23            A.      Yes, I do.        But then I follow back to
24     the tenet we talked earlier is that malware has
25     to somehow physically get onto that environment

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1      and have programming logic that is compatible
2      with the environment that it's in.
3             Q.      Right.
4                     And I understand that, Mr. Beaver.
5             A.      Okay.
6             Q.      But -- okay.          I get it.        Thank you.
7                     All right.        Take a look at topic 1 B,
8      please.      Just let me know when you're there.
9             A.      Yes.     Yes, I'm there.
10            Q.      This is any efforts made to air gap a
11     components of Georgia's current election system
12     and the success or failure of any such efforts.
13            A.      The answer -- the answer is yes.
14            Q.      Right.
15                    And so what are those efforts?
16            A.      So Secretary of State's IT group,
17     department built an air gapped environment based
18     on NIST standards using NIST protocols to hold
19     the Dominion ballot building environment.                            And
20     continues to maintain that air gapped environment
21     per the NIST protocols.
22            Q.      And that was built sometime in 20- --
23            A.      '19.
24            Q.      Oh, 2019?
25            A.      I think it was -- yes.

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1             Q.      All right.        And this was what you were
2      talking about earlier that it's all new
3      equipment, even new wires in the wall?
4             A.      Yes.
5             Q.      Okay.
6             A.      It does not share anything with any
7      other network environment.                 It does not
8      cohabitate in any racks or environment.
9             Q.      Right.
10                    But it does share data with the voter
11     registration system, though, right?
12            A.      Yes.     And that data is transferred
13     using the NIST protocol.
14            Q.      Okay.      Who at the Secretary's office is
15     actually responsible for transferring that data?
16            A.      That would be Michael Barnes's group.
17            Q.      Okay.      Who is responsible for uploading
18     any data or files to the state EMS server for any
19     given election?
20                    Is there anyone on your team that does
21     that or is that also Mr. Barnes's group?
22            A.      That's Mr. Barnes.
23            Q.      Okay.      All right.        Take a look at topic
24     1 C, please.
25            A.      Okay.

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1      component?
2             A.      Oh, hold on.
3             Q.      It's for the --
4             A.      Component list limited to the following
5      equipment for election...
6                     So this all looks like it's speaking to
7      the current Dominion environment, meaning the
8      ballot building device --
9             Q.      Yes.
10            A.      -- environment.
11            Q.      Yes, that's right.
12            A.      It doesn't speak to any of the voter
13     registration system, the my voter page, the
14     online registration page.                It's just the Dominion
15     environment.
16            Q.      Correct.       Yeah.
17            A.      Okay.
18            Q.      And so let's --
19            A.      So now --
20            Q.      Yeah, let's start with that.                   So take a
21     look at -- with that definition in mind, are you
22     aware of any connections to the Internet,
23     telephone lines, cable lines, satellites or other
24     third-party system or network for any of the
25     components identified in footnote two for the

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1      current election system?
2             A.      None.
3             Q.      And what's the basis for that belief?
4             A.      We have built an air gapped
5      environment, follows, as I've said, the NIST
6      protocols on its own dedicated hardware network
7      environment.         Does not share anything with an
8      environment that has any of these types of
9      things, Internet, telephone, cable, satellites or
10     other third-party networks, is not tied to
11     anything that would have those things connected
12     to it.
13            Q.      Okay.      But you don't know, for example,
14     whether any of the 159 counties have ever
15     connected any of those components to any Internet
16     or third-party system, right?
17                    MR. DENTON:         Objection.
18            A.      We're talking about what was described
19     above and that everything that's described above
20     is that Dominion environment, which is based in
21     our election center in Marietta.                    So the counties
22     don't have access to that.
23            Q.      Well, no.        Look -- if you look at
24     footnote two it includes the Dominion BMDs, the
25     printers used with the Dominion BMDs, the

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1      scanners used to scan ballots, servings --
2      servers containing election management system --
3             A.      So you're talking about the actual
4      equipment that's in the field?
5             Q.      Correct.       That's part of it.              Yeah.
6                     And so you don't -- so you don't know
7      as you sit here whether any of the 159 counties
8      in Georgia has ever connected any of that
9      equipment to the Internet or to a third-party
10     system, right?
11            A.      No.    I mean, there's some of the stuff
12     that can't be connected, like the BMDs don't have
13     a network connection to go into that.                       Now, a
14     laptop, I'm not sure what a laptop -- what they
15     would use a laptop for, a desktop computer, not
16     sure how that would be involved in this whole
17     environment.         So I can't speak to those things.
18     Smart phones, same thing, like I -- it's -- it's
19     listed in this list, but it isn't necessarily
20     used in the Dominion environment.
21                    So this is a very large list of things,
22     but not all of them have anything to do with the
23     Dominion environment.              But I can't speak to, you
24     know, what the counties have done with these
25     kinds of things.

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1             Q.      All right.        The Dominion BMDs used in
2      Georgia have a standard USB port on them, right?
3             A.      Yes.
4             Q.      In fact, the detached printer that
5      prints the ballot connects to the BMDs with
6      standard USB port, right?
7             A.      Yes.
8             Q.      And are you aware that the Dominion BMD
9      USB ports are not sealed, meaning that a voter,
10     for example, has access to plug in a USB drive to
11     a BMD used in an election?
12            A.      I don't believe that's true.                   It was a
13     term it's sealed.            It's not sealed.            I have never
14     seen an environment where it's not sealed.                           So
15     I'm not sure where that comes from.                      So I guess I
16     can't answer that that would be true.                       I am not
17     aware that that -- that system is not sealed.
18            Q.      So what is the basis for your
19     understanding that the USB port on each of the
20     30,000 BMDs in Georgia is sealed?
21            A.      I've seen them and they're sealed.                         And
22     that is our protocol is to keep it sealed.
23            Q.      Well, I assume you haven't seen all
24     30,000 BMDs, right?
25            A.      No, I -- yeah, I haven't seen 30,000

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1      BMDs.        But, as I said, the protocol is to keep
2      them sealed.         And when I say sealed, they're
3      locked -- locked away.               They have a sealing
4      device that will show tampering if somebody
5      unseals it.        So I have not heard of any counties
6      that have had an issue with BMDs being unsealed.
7      I have not heard that.
8              Q.      Okay.     And is that something you would
9      expect to know as the state CIO?
10             A.      I would have heard it.              It isn't the
11     counties report to me.               You could probably ask
12     Mr. Michael Barnes if he's heard it.                       I think
13     he's more in touch with the counties than I am.
14             Q.      And why is sealing the BMDs important?
15             A.      Many type of layers of security.
16     Security is not just one thing.                    It is a layer
17     approach.        Sealing the BMD is just one of the
18     many security aspects to that -- verifying that
19     we have a very secure system.                   Sealing is a piece
20     of it.
21             Q.      But what is the sealing of a BMD
22     intended to protect against?
23             A.      Just what you described, somebody
24     having access to do something to it that's
25     unknown.

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1             Q.      Got it.
2                     Okay.      And would it be fair to say that
3      if -- that if -- if a county found that its BMDs
4      were unsealed, the seals were broken, for
5      example, before an election, they should not use
6      those, right?
7             A.      Correct.       That is the protocol.
8             Q.      Okay.      What's the device that's used to
9      seal the USB ports on the BMDs?
10            A.      I don't know what that device is.
11            Q.      All right.        Jump to topic ten, please.
12            A.      Okay.
13            Q.      Topic ten is any instance in 2020 or
14     2021 within the knowledge of the Secretary of
15     State's office when a person or entity other than
16     an authorized election worker of Georgia state or
17     county official obtained voting data from a
18     Georgia election or images of voting equipment
19     used in a Georgia election.
20                    Do you see that?
21            A.      Yes.
22            Q.      And are you aware of any such instance?
23            A.      I am not aware of any instance.
24            Q.      And would you expect to be aware of
25     this as the state CIO if -- if this was known to

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1      does have the authority to require cybersecurity
2      assessments of its vendors, right?
3                     MR. DENTON:         Objection.
4             A.      I don't know.          That's a good question.
5             Q.      You're not aware of a rule that
6      actually requires the Secretary of State's office
7      to ensure that vendors that are related to the
8      election system do cybersecurity assessments?
9             A.      Are you saying annually?
10            Q.      Annually or on any schedule.                   Sorry, go
11     ahead.
12            A.      I am not aware of a rule or any
13     legislation or anything that says that.                        I think
14     that is good practice that we have built over the
15     years since I've been here.                 But I don't know of
16     any rule.       I've never been told of any rule that
17     states that.
18            Q.      Okay.      The cybersecurity assessment for
19     CES that's done annually, is that -- is there a
20     written report of that?
21            A.      We don't do written reports now.
22            Q.      When you say now, when did that -- when
23     did that start?
24            A.      The last two years.
25            Q.      Why are there no written reports of ooh

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1      cybersecurity assessments for the Secretary's
2      office as of the last two years?
3                     MR. DENTON:          Objection.
4             Q.      You can answer it.
5                     Do you know why?
6             A.      Yes.      They're taken out of context by
7      the public.
8             Q.      What do you mean?
9             A.      They read them, they don't understand
10     them, they take them out of context.
11            Q.      So how is the cybersecurity assessment
12     the -- the steps that are taken and the findings
13     conveyed to folks at the Secretary's office if
14     not in writing?
15            A.      We have conference calls.                   I have a
16     working team that works with Fortalice.                          We
17     review things that they say you need to be
18     looking at this, you need to be looking at that.
19     We look at our project lists of tasks that we
20     need to do across the board to figure out how do
21     we mold some of those in.                  Or not some of those,
22     but mold those things in.                  Made our life
23     difficult.
24            Q.      You mentioned Fortalice.                  Is Fortalice
25     the one that does the annual cybersecurity

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1             Q.      Why not?
2             A.      We didn't have any events or incidents
3      that required it.
4             Q.      The monthly reporting, is that
5      typically in writing or is that also now not in
6      writing?
7             A.      Not in writing.           And in the -- we're
8      not necessarily having any monthly reporting for
9      a while, probably for almost the last year.
10            Q.




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1            A.




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19            Q.      Okay.      All right.        Come to paragraph 13
20     of your 2019 declaration, if you would.
21     Exhibit 2.
22                    MR. DENTON:         Sorry, David, is this
23             Exhibit 2 or 3?
24                    MR. CROSS:        Oh, good question.              Maybe
25             it's Exhibit 3.            Let's see.

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1      that also the same process today with Dominion
2      and the poll pad software that's used?
3              A.      That would be a Michael Barnes
4      conversation.
5              Q.      Okay.     Is it your belief that logic and
6      accuracy testing done on BMDs provide
7      cybersecurity assessments for those machines?
8              A.      It is one of the layers we use.
9      Remember I said that security is not one thing,
10     it's one of many layers.                It's an important to
11     valid validate that the software that's on there
12     is what you expect to be on there and there's
13     nothing else on that system.                  So yes, it is one
14     of the layers.
15             Q.      And is it your understanding that logic
16     and accuracy testing actually validates the
17     software that's on a given BMD?
18             A.      It validates that it matches a hash
19     test.        Means if you hash the file, you will get a
20     respondent hash.           If you hash a file that has
21     been modified at all or is of a different
22     structure, meaning something hiding there with
23     the same name, it will come back a different
24     hash.        And it will fail.
25             Q.      But do you understand that it's common

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1      with malware to design malware so that it defeats
2      the hash test, meaning it will spit back the same
3      hash that you're looking for when you're doing
4      something like logic and accuracy testing?
5                     MR. DENTON:         Objection.
6             A.      I don't have any -- any document that
7      says that.
8             Q.      That's not something you've heard
9      before?
10            A.      Nope.
11            Q.      Okay.      All right.        Take a look at
12     paragraph 18, please.
13                    Do you have that in front of you?
14            A.      Yes, I do.
15            Q.      And here you wrote, State defendants
16     also conducted parallel testing on election day
17     for a copy of an actual county GEMS database is
18     used with a voting machine set up in the
19     Secretary of State's office and set an election
20     mode for a specific real county precinct.
21                    Do you see that?
22            A.      Yes.
23            Q.      Is that same sort of parallel testing
24     done today with the Dominion system?
25            A.      I'm not aware of that.

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1              A.      Yes.
2              Q.      Do you have an understanding as to
3      whether the Dominion BMD system is software
4      independent?
5              A.      I'm not sure I understand your
6      question.        It's software independent.
7              Q.      Sorry.     The question is just that do
8      you have -- do you have any understanding as to
9      whether the Dominion BMD system used in Georgia,
10     whether it's considered software independent?
11                     MR. DENTON:        Objection.
12             A.      I've never heard that term.
13             Q.      Okay.     Where she goes on to say that
14     the system must be auditable and its tabulation
15     record cannot be based solely on its software, do
16     you have an understanding of whether the
17     tabulation record in Georgia with the DM -- the
18     BMD system is based on the software?
19                     MR. DENTON:        Objection.
20             A.      I can tell you there's no voting on a
21     BMD system.        All you're doing is marking a
22     ballot.        So if somebody says you are maliciously
23     changing votes, there are no votes counted on a
24     BMD.     So I am -- you know, I can only speculate
25     here.        But the whole conversation is sideways.

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1             Q.      Okay.      All right.        Thank you.
2                     All right.        You can put that aside.
3                     Sorry.      I accidentally closed Exhibit
4      Share.
5                     (Exhibit 9: Document entitled
6               Information Technology Security Program
7               Charter marked for identification, as of
8               this date.)
9             Q.      All right.        Let me put up the next
10     exhibit.       This will be Exhibit 9, Mr. Beaver.
11                    MR. DENTON:         David, while that's
12              loading, if you're through with Exhibit 8,
13              I don't know whether you are, but I know
14              there have been people on this deposition
15              who should not have access at this time.
16              And that I know, for example, Ms. Marks was
17              in here earlier and indicated that she had
18              access to Exhibit Share.                So it might make
19              sense to pull Exhibit 8 back out of the
20              share folder for now.
21                    MR. CROSS:        I don't have a problem with
22              that.     But I don't think I have the ability
23              to do that.         Looks like maybe I could block
24              it.     See what this does.
25                    THE VIDEOGRAPHER:            This is the

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1              videographer.           I'm not sure about the
2              ability to lock or unlock.                  But I know once
3              a exhibit is introduced into Exhibit Share,
4              the only people that could remove it is
5              Veritext.         So I can e-mail them and ask
6              them to remove it if I need to.
7             Q.      Mr. Beaver, see if -- and you can try
8      to, see if you can open Exhibit 8 now.                        I just
9      locked it.        I don't know if that means you guys
10     can no longer open it.
11            A.      I just opened it again.
12            Q.      Oh, you did?
13            A.      Yes.
14                    MR. CROSS:        Alex, can you open
15             Exhibit 8?
16                    MR. DENTON:         I can as well.
17                    MR. CROSS:        Oh.     All right.         It doesn't
18             let me pull it out.              But...
19            A.      Can we lock out people from joining?
20                    MR. CROSS:        I don't think Ms. Marks is
21             coming back.          But if she comes on, we can
22             -- we can deal with that.
23                    MR. DENTON:         Yeah, my -- I don't have a
24             full understanding how of how Exhibit Share
25             works.        I think you can probably

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1              independently access it at any point
2              whether you -- regardless of whether you're
3              in Zoom.        So to the extent --
4                     THE VIDEOGRAPHER: That is correct.
5                     MR. DENTON:         To the extent that that's
6              something that needs to be -- have limited
7              disclosure right now, it sounds like from
8              Mr. Miller that we may -- Jonathan Miller
9              that we may need to ask Veritext to pull
10             that back.
11                    MR. CROSS:        Okay.      All right.
12                    THE VIDEOGRAPHER:            Would you all like
13             me to ask them to do so, counsel?
14                    MR. CROSS:        Yeah, why don't you, if you
15             don't mind, ask them to pull Exhibit 8 out.
16                    THE VIDEOGRAPHER.            Exhibit 8.         Got it.
17             I'll take care of it.               Thank you, sir.
18                    MR. CROSS:        All right.         Thank you.
19     BY MR. CROSS:
20            Q.      All right.        Mr. Beaver, do you have
21     Exhibit 9 in front of you?
22            A.      Yes, I do.
23            Q.      All right.        Have you seen Exhibit 9
24     before?
25            A.      Is there a date on it?               Oh, let's see.

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1     So this is --
2            Q.      So it's entitled Information Technology
3




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4             Q.      Okay.
5             A.      But I don't recall it specifically.
6             Q.      Okay.      All right.        I'll give you the
7      next exhibit.
8                     MR. DENTON:         And David, I guess a
9              similar comment as to Exhibit 9, this looks
10             like a forward produced document under the
11             confidential AEO designation.                    So it
12             probably requires the same treatment as
13             Exhibit 8.
14                    MR. CROSS:        So let's do this, what
15             we've done in the past is -- I don't want
16             to start pulling exhibits out.                     It's going
17             to get really confusing.                 Jonathan, can you
18             just -- are you still there?
19                    THE VIDEOGRAPHER:            Yes, sir.
20                    MR. CROSS:        Can you just ask Veritext
21             to remove Marilyn Marks' access to this
22             exhibit folder if she has it.                    That's what
23             we've done in the past.                 So she will not --
24                    THE VIDEOGRAPHER: I will ask if they
25             can do that.          They may or may not be able

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1              to do that.          I'm not hundred percent sure.
2              But I will ask.
3                     MR. CROSS:        Okay.      I know they've done
4              it in the past when we've had a situation
5              --
6                     THE VIDEOGRAPHER:            And she specifically
7              needs to not have access to Exhibit 8 only?
8                     MR. CROSS:        No, just pull that access
9              to Merritt Beaver entirely.                   Because there
10             are going to be a number of confidential or
11             AEO documents.
12                    THE VIDEOGRAPHER:            Pull her access to
13             the folder for today entirely, correct?
14                    MR. CROSS:        That's correct.
15                    THE VIDEOGRAPHER:            Okay.      That's easy
16             to do.       I can -- I can take care of that.
17                    MR. CROSS:        All right.         Thank you.
18                    (Exhibit 10: Document entitled
19             Fortalice Solutions Web Vulnerability
20             Remediation Checks Secretary of State
21             Georgia Draft - July 14, 2020 marked for
22             identification, as of this date.)
23     BY MR. CROSS:
24            Q.      Okay.      All right.        Grab Exhibit 10,
25     please, Mr. Beaver.

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1      file, somebody's taken over my computer when in
2      reality it was a pilot error.                   So this was
3      classified as an event, not an incident.
4             Q.      Okay.      And what's the distinction you
5      draw between event and incident?
6             A.      So an event is when something has
7      flagged as a suspicious activity or something
8      that looks wrong that deserves somebody to do
9      investigation.          Once you identify, you know, that
10     there is malicious activity going on, it gets
11     transferred to status of an incident and you
12     start a process called an incident response
13     process, which is bringing in the -- you know,
14     the appropriate people, starting to document it,
15     things like that.
16            Q.      Okay.      And do I understand correctly
17     that there's no written report on Fortalice's
18     findings because of the policy for them not to
19     generate reports on this?
20                    MR. DENTON:         Objection.
21            A.      I don't recall -- I don't recall.                     Even
22     a -- like a document.              I just remember hearing
23     oh, it's -- there's nothing there.                     They've
24     searched it.
25                    (Exhibit 13: E-mail string with the top

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1             A.      Yeah.
2             Q.      And he writes, I am the IT director for
3      the Georgia Secretary of State.
4                     Do you see that?
5             A.      Yes.
6             Q.      Are you familiar with them?
7             A.      With Clark Rainer?
8             Q.      Yes.
9             A.      Yes.     He used to work for me.
10            Q.      Okay.      And is he gone now too?
11            A.      Yes.     He's the CIO for the -- I think
12     it's the AG office.
13            Q.      The Georgia Attorney General's office?
14            A.      Yes.
15            Q.      When did he move into that role,
16     approximately.
17            A.      It was I think early 2020.
18            Q.      Okay.      If you come down --
19            A.      It was after Raffensperger came over.
20     It was soon after Raffensperger came over.
21            Q.      Okay.      If you come down to the bottom
22     of the first page, do you see he's got four
23     bullets?
24            A.      Yes.
25            Q.      And the last bullet on that page,

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1      number 4 reads, Just got an e-mail from MS-ISAC
2      with some more information I'll forward on in
3      just a minute.          Also showing you may have a
4      malware infection.
5                     Do you see that?
6             A.      Yes.
7             Q.      And this is being sent to Josh Hood,
8      professional services technician.
9                     Do you see that?
10            A.      Yes.
11            Q.      Who is Josh Hood?
12                    Do you know who that is?
13            A.      No, I don't.
14            Q.      Okay.      What do you know, if anything,
15     about this situation in the -- what Mr. Clark or
16     what Mr. Rainer wrote about a possible malware
17     infection?
18            A.      Nothing.       We get -- we get reports from
19     counties I'll say on a regular basis about
20     different malware attacks where a county office
21     will -- somebody will have clicked on something
22     and they realize that something happened to their
23     network and they'll send out a message to
24     everyone saying hey, you know, we're in the
25     process of cleaning our systems because of X, Y

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1      and Z.      This looks like this might be a very
2      similar thing where they were reaching out to us
3      for some help.
4             Q.      Okay.
5             A.      But I don't have any specific recall of
6      this event.
7             Q.      And you don't recall whether there was
8      any investigation or any findings?
9             A.      No.     As I said, it is not an unusual
10     conversation to go with the counties when they
11     have an event where somebody clicks on something
12     that they'll notify us just to make sure that,
13     you know, we know what's going on so that if --
14     if for some reason we start getting e-mails from
15     them that look weird or something like that, we
16     know like, oh, they've got something that's
17     happened in their environment, let's be careful.
18                    So, I mean, Clark was just trying to be
19     helpful in that, you know, we reached out to --
20     we have a tie -- most of the counties have a tie
21     into MS-ISAC also.            I'm sure he had reached out
22     to MS-ISAC with this information and may have
23     gotten information that -- back from them.                           I
24     mean, they cover election systems across the
25     country.       One of the reasons we work with them is

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1      because we get to see a -- a national view of
2      attacks.       And so if one state is getting attacked
3      -- has an attack going on or something happens,
4      we can get that information and helps us protect
5      ourselves against similar attacks.                     So Clark is
6      just trying to help him understand, you know,
7      that MS-ISAC may have a bigger view into what's
8      going on.
9                     (Exhibit 15: E-mail string with the top
10             from Dave Hamilton dated 8/13/2020 marked
11             for identification, as of this date.)
12            Q.      Okay.      So grab Exhibit 15, if you
13     would, please.
14            A.      Dave Hamilton potential leak -- leakage
15     of voter data.
16            Q.      Yes.
17                    So this is an e-mail that Dave Hamilton
18     sent on August 13, 2020, right?
19                    Do you see that?
20            A.      Okay.
21            Q.      And if you come down to the earliest
22     e-mail on the thread at the bottom, it's an
23     e-mail from -- the name is K-I-J-Y-U-U, and the
24     last name it looks like is Tradebit,
25     T-R-A-D-E-B-I-T, August 12, 2020.

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1                     Do you see that?
2             A.      Are you on the last page?
3             Q.      I'm at the top of the last page, bottom
4      of the second to last page.
5             A.      Oh, yeah, yeah, yeah, yeah, Tradebit,
6      Tradebit.
7             Q.      And so if you come to the -- the e-mail
8      this person sends indicates in the first
9      sentence, I would like to say someone anonymous,
10     but I am contacting you because I have worked
11     with you in the past a little and I knew you
12     would be a good person to contact.
13                    Do you see that?
14            A.      Yep.
15            Q.      And then he goes on in the next
16     paragraph to indicate that he's discovered a flaw
17     on the page that allows you to see other people's
18     voter information.
19                    Do you see that?
20            A.      Yes.
21            Q.      And then Mr. Barnes responds -- Michael
22     Barnes responds the same day.
23                    Do you see that?
24            A.      Where is Barnes?            Oh, yeah, here.
25            Q.      And then if you keep scrolling up

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1      you'll see on -- let's see, the middle of the
2      third page there's an e-mail from Dave Hamilton
3      on August 12th, 2020 at 6:03 p.m.
4                     Do you see that?
5             A.      Yes.
6             Q.      And that one is to you, right?
7             A.      Yep.
8             Q.      What do you recall about this situation
9      and the vulnerability alleged in the -- the
10     initial e-mail?
11            A.      So it looks like this is a -- if I
12     remember right, this was a county website, not
13     the Secretary of State website, had a similar
14     issue with their system where people could go in
15     and pull up prior polling locations.                       In other
16     words, by taking the web address and incrementing
17     the number backwards, you could pull up prior
18     documents.        So, again, it was not a breach, but
19     bad coding practice that needed to be fixed.                              And
20     you could go back in time and see the last X
21     number of documents that people had pulled up.
22     But you wouldn't be able to change anything.                              It
23     just was bad practice.
24                    So that's why he said it was similar to
25     what we addressed with PCC on our website.                           So

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1      that would be the -- the problem we had with the
2      MVP page where you could increment the number and
3      see other peoples' documents that they had
4      pulled, you know, up until a point that the
5      server clears cache.
6             Q.      And was this -- sorry.               Was this
7      remediated?
8             A.      As far as I know, it was remediated
9      fairly quickly because we explained to them how
10     to fix it.
11            Q.      And what's the basis for your
12     understanding that it was remediated?
13            A.      It seems to me I had a conversation
14     with Dave afterwards that he had worked with them
15     to -- to understand -- you know, explain to them
16     what it was to fix.             I think they actually pulled
17     the page down until they could fix it.
18                    (Exhibit 16: E-mail string with the top
19             from Chris Harvey dated 12/30/2020 marked
20             for identification, as of this date.)
21            Q.      Okay.      All right.        Grab Exhibit 16,
22     please.
23            A.      Chris Harvey, voter registration
24     certificate.
25            Q.      Yes.

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1                     So this is an e-mail you can see that
2      Chris Harvey received on December 30th, 2020.
3                     Do you see that from Ryan Germany?
4             A.      Yes, yes.
5             Q.      And if you come down the beginning of
6      the thread it begins with an e-mail that Dave
7      Hamilton sent on December 24, 2020.
8                     Do you see that?
9             A.      Yes.
10            Q.      And he sends that to you and Mr.
11     Germany at the Secretary's office, right?
12            A.      Okay.
13            Q.      And the subject line is 2020 rule
14     590-8-3 attestation and assessment.
15                    Do you see that?
16            A.      Yes.
17            Q.      And this concerns the assessment
18     attestation or certification that the Secretary's
19     office has to put out each year, it's a security
20     risk assessment that the Secretary has to attest
21     to each year, right?
22            A.      Yes.
23            Q.      And so Mr. Hamilton looks like was
24     handling the attestation in December of 2020.
25                    Do you recall that?

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1             A.      I know it gets done every year, so --
2      and it needs to be the done the first -- by the
3      end of the year or at least before -- you know,
4      early on.        I think the target is by the end of
5      December.
6             Q.      Okay.      So do you see here --
7             A.      I vaguely remember this.
8             Q.      Okay.      You see Mr. Hamilton writes
9      Civix just got me the last two artifacts for
10     this; do you see that?
11            A.      Yes.
12            Q.      What is Civix?
13            A.      Civix is PCC.           PCC changed their name
14     to Civix.
15            Q.      Okay.      And he goes on, They apparently
16     have never completed a security risk assessment.
17                    Do you see that?
18            A.      Yes.
19            Q.      And do you have any reason to believe
20     that Mr. Hamilton was wrong about whether Civix
21     or PCC had ever completed a security risk
22     assessment?
23                    MR. DENTON:          Objection.
24            A.      I can't speak to that.
25            Q.      Okay.

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1             A.      I know he -- Dave was a hard-core
2      security person and he didn't like -- he was
3      basically -- was very much this is how he felt
4      things should be done.               People doing something a
5      different way rubbed him.                So this doesn't
6      surprise me.
7             Q.      And Hamilton was the chief information
8      security officer while he was at the Secretary's
9      office, right?
10            A.      Yes.
11            Q.      Okay.
12            A.      He did a good job.
13            Q.      If you come to the second paragraph, do
14     you see he writes, Hope this suffices.                        I did my
15     level best to meet all of these items.                        Not sure
16     how James ever signed this with a straight face.
17                    Do you see that?
18            A.      Yep.
19            Q.      And by James he's referring to James
20     Oliver, the former security manager, right?
21            A.      Yes.
22            Q.      And did you share Mr. Hamilton's
23     concern about how James Oliver was able to sign
24     this attestation in prior years?
25            A.      As I said --

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1                      MR. DENTON:        Objection.
2              A.      -- Dave was a -- I'll say a
3      perfectionist.          He was very judgmental of other
4      people.        And if they didn't do things his way, he
5      wasn't satisfied.            There are lots of people in
6      the securities world.              Dave was a very hard-core
7      and that he had his vision of how things should
8      be done.        Not that his was the only way to do
9      something, but he had his way and he spoke his
10     mind.        Here he is speaking his mind.                 Whether or
11     not James actually met the level of the law, I
12     felt he did.
13                     Now, did Dave have a harder view on
14     things and drive the organization better?                            Yeah,
15     he did.        That's why he essentially replaced
16     James.        But James did what he was supposed to do.
17     He worked within the legal law of what
18     requirements were.            Dave was unhappy with Civix
19     because he -- his view on security was one thing
20     and they had a different.                Security is a broad
21     topic.        Dave was very opinionated and he
22     basically would voice his opinion all the time.
23     So you're reading it.
24             Q.      And the concern that Dave Hamilton
25     expresses in this e-mail thread is that the --

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1      the Secretary of State is actually not in
2      compliance with the rule at this time because he
3      can't find the evidence, what he calls artifacts,
4      of that compliance, right?
5                     MR. DENTON:         Objection.
6             A.      Yeah. He doesn't say here what the
7      artifacts are.          I know he and I have talked about
8      this on multiple occasions.                 As I said, he was a
9      perfectionist.          The attestation applies only,
10     only to the voting -- voter registration system,
11     the election system.             Dave felt it should apply
12     to all things that the Secretary of State
13     managed.       But the attestation specifically only
14     applied to election.             So Dave was always on a --
15     on a course to say we should have things like
16     artifacts that cover everything, whether it's the
17     corporate registration system, whether it is the
18     security system, professional licensing system.
19     He felt all of them should fall under the same
20     level of security that elections did.                       But the
21     attestation clearly does not include anything but
22     elections.        And that was always a rub to Dave.
23                    Does that answer your question?
24            Q.      I think so.         I was going to grab
25     another exhibit for you.

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1             A.      Oh, all right          I didn't -- one of those
2      pregnant pause moments --
3             Q.      Yes.     Sorry.
4                     (Exhibit 17: E-mail string with the top
5              from Dave Hamilton dated 12/21/2020 marked
6              for identification, as of this date.)
7             Q.      All right.        Grab Exhibit 17.
8             A.      This looks like it's the same topic.
9             Q.      Yes, yes, a little bit earlier.                       So I
10     wanted to -- a little more context.
11                    So if you go to the top, you'll see
12     this is an e-mail that Dave Hamilton sent you on
13     December 21, 2020 regarding the rule 590 -- or
14     the 590 rule attestation, right?
15            A.      Okay.
16            Q.      If you come down in the earliest e-mail
17     of the thread is an e-mail that Mr. Hamilton
18     sends to you December 19, 2020 and he copies
19     itsecurity@sos.ga.gov.
20                    Do you see that?
21            A.      Yes.
22            Q.      What is the IT security e-mail there?
23     Is that some sort of like team or group
24     distribution list?
25            A.      It's just an e-mail box that if we

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1      have, like, vendors sending reports, like
2      Cybraics is one of our monitoring systems.                           It
3      monitors network traffic between nodes inside the
4      network.       It sends out a regular e-mail of alerts
5      of activity and stuff like that.                    Rather than
6      having it go to a specific security person, it
7      goes to a security -- IT security mailbox that
8      all of the security people see.
9              Q.     Okay.      Do you know whether that e-mail
10     in box was searched for relevant e-mails for this
11     case?
12             A.     If we do a search on 365, it's
13     included, which would be the answer is yes, it
14     was included.
15             Q.     Meaning if they did a search on 39- --
16     365 that it encompassed that e-mail advice?
17             A.     It should, yes.
18                    MR. DENTON:         Objection.
19             Q.     Okay.      All right.        So Mr. Hamilton
20     writes here regarding this rule attestation in
21     the first sentence and started after the comma,
22     he writes, I really don't understand how my
23     predecessor was ever able to attest to meeting
24     the set of regulations.               I handled this just like
25     an assessment.          If we can't come up with an

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1      artifact that proves something is real, it
2      doesn't exist.
3                     Do you see that?
4             A.      Yep.
5             Q.      And do you agree with Mr. Hamilton, the
6      former CISO's position, that for the attestation
7      provided by this rule, that if you cannot come up
8      with an artifact that proves that something is
9      real, it doesn't exist?
10            A.      This is the same response I gave the
11     last one, which is he had a view of an
12     attestation that was broader than the rule
13     actually is written for.                And he was trying to
14     position that we should cover all systems under
15     that attestation, thus find artifacts that
16     basically mark our -- you know, that we meet the
17     590 rule across every system.                   Well, there are
18     things that are in 590 that the other systems
19     don't necessarily do.              I don't have that list.
20     But I know that that's part -- that was his big
21     rub.    And so that's -- he's -- this was probably
22     his -- one of his early sort of discoveries as
23     he's trying to go through that list and find
24     those artifacts.           And he's looking for them for
25     systems outside of what 590 truly covers, which

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1      is the election system, and he can't find them.
2      Because they don't exist because not everything
3      that's in 590 applies to all systems for
4      Secretary of State.             He wanted them to, but they
5      didn't.      So he was frustrated.
6              Q.     So if you come up to the e-mail that he
7      sent you on December 21 and come down towards the
8      bottom of the page, you see that paragraph that
9      begins on our part, we did everything?
10             A.     Yes.
11             Q.     And then the third line at the end he
12     writes, My plan was to produce an amendment
13     shortly after the first of the year.                       Once E-Net
14     lands and I can verify the risk gaps are
15     minimized.
16                    Do you see that?
17             A.     No.    I've lost you.            I'm down on the
18     first -- bottom of the first page.
19             Q.     Yeah, the paragraph that reads, on our
20     part.
21             A.     Oh, yeah.        Okay.      We did everything we
22     could to meet these rules.
23             Q.     Come to the end of the third line, the
24     sentence begins my plan.
25             A.     The one that says, My plan has to

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1      produce an amendment?
2             Q.      Yes.
3                     Do you know what was meant by once
4      E-Net lands?
5             A.      No.
6             Q.      Was there any change contemplated with
7      E-Net at this time that you recall?
8             A.      No.     I don't know of any.
9             Q.      Okay.      And then he then goes on -- he
10     goes on to the third paragraph -- the next
11     paragraph -- two paragraphs after that.                        You see
12     where it reads, the largest impact?                      And he
13     writes, The largest impact can be made by getting
14     Civix to produce their part of this.                       We can go
15     from 66 percent up to over 80 percent quickly.
16                    Do you see that?
17            A.      Yep.
18            Q.      And what Mr. Hamilton found at this
19     time, was it looking only at PCC or what he
20     refers to here as Civix, the state was only --
21     only at 66 percent in compliance with what's
22     required under this rule, right?
23            A.      I don't know the context.
24            Q.      What do you mean you don't know the
25     context?       This is an e-mail that he sent to you?

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1             A.      Yes.     But he's saying we can go from 66
2      up to over 80 quickly.               I don't know whether he's
3      talking about the context of Civix in like --
4      like we talked earlier, fixing their code so that
5      they can't do sequel injection and things like
6      that so we don't have to use external tools to
7      remediate, that could very well be where he is.
8      Because that was also a big thing is he wanted
9      them to fix their code so it was a true fix, not
10     a remediation using a different solution.                            That
11     could very well be where he's talking.                        And if
12     you notice this date timeline is all around that
13     same time frame.
14            Q.      Okay.      But do you understand that the
15     concern he was expressing was that with respect
16     to what PCC was handling, the state was only in
17     compliance with 66 percent of the requirements
18     under the rule based on --
19                    MR. DENTON:         Objection.
20            Q.      -- research he had done?
21            A.      I see that.         As I said, Civix code did
22     not meet some of the requirements that we had to
23     have from security inspection.                   So we had to put
24     things in front of it to reach the level of
25     security we needed.             He was a truest.            He wanted

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1      the code to do it on its own.
2                     So we've already talked about this
3      topic of Civix couldn't fix their code to do what
4      it is because it would break it.                    And they would
5      have to do a major rewrite to do what really
6      needed to do to fix the sequel injection, the
7      cross-side scripting, those kind of things.
8             Q.      Okay.
9             A.      They didn't like the fact that we had
10     to use other tools like Cloudflare to fix
11     problems to meet our attestation levels.                         He
12     wanted to see them -- like he said, we could
13     quickly get there if Civix would just fix this.
14     We knew that.          But we couldn't -- we -- get them
15     to fix it.
16            Q.      All right.
17            A.      It was a point of frustration for him.
18            Q.      The Secretary's office has announced
19     that they're actually moving away from E-Net,
20     right?
21            A.      Yes.
22            Q.      And why is that?
23            A.      It's an old system, to start with.
24     Civix has changed vendors -- or has been
25     purchased I think at least twice, maybe three

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1      times in the last four years, four or five years.
2             Q.      When was the decision made to move away
3      from E-Net?
4             A.      Last year.
5             Q.      Who made that decision?
6             A.      Front office.
7             Q.      And by front office who do you mean?
8             A.      Secretary.
9             Q.      Oh, Secretary Raffensperger?
10            A.      Yes.     Those kind of decisions, it comes
11     down to him to make the call.                   We present
12     proposals and it's up to him to say yay, nay.
13            Q.      What --
14            A.      It's a big decision.
15            Q.      Sorry.
16            A.      Yeah, that was a big, big decision.
17            Q.      What were those specific reasons that
18     he decided to move -- to replace E-Net?
19            A.      One was the age, one was the ability
20     for us to get, like this, certain fixes put in
21     place that we wanted to see.                  Some of it was
22     security related, some was just functionality
23     related.       The application was built I think like
24     in 2012 when we first purchased it.                      And the --
25     but the actual application was probably built a

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1      year or two before that.                So the core code was
2      ten years old.          Getting very old.             Technology has
3      changed.       So it was time to look at another
4      solution.       We were in the process of also looking
5      at some of our other systems and we decided to do
6      basically an overall refit of everything.
7              Q.     What's the new solution that you're
8      bringing in in place of E-Net?
9              A.     I think they've announced -- already
10     announced that it's Salesforce based.
11             Q.     And will that be a cloud solution
12     hosted by Salesforce?
13             A.     Yes.
14             Q.     Okay.      What's the process for migrating
15     data from E-Net to Salesforce; do you know?
16             A.     It hasn't been done yet.                We're in the
17     process of trying to come up with a migration
18     plan.
19                    (Exhibit 18: 2020 Security of the voter
20              registration system artifacts and
21              attestation pursuant to Rule 590-8-3-.01
22              December 18, 2020 marked for
23              identification, as of this date.)
24             Q.     All right.        Grab Exhibit 18, please.
25             A.     2020 security of voter registration

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1      system, artifacts and attestation.
2             Q.      Yeah, so we're still on the same
3      subject of the same time frame of the e-mails we
4      were looking at between you and Mr. Hamilton
5      about this rule attestation.
6                     Do you see that?
7             A.      Yes.
8             Q.      And this is dated December 18, 2020.
9      Do you see that on the front page?
10            A.      Yes, I've got it.
11            Q.      And if you come down to the bottom of
12     the cover page, do you see David Hamilton's
13     signature is there next to CISO?
14            A.      You're saying all the way to the
15     bottom?
16            Q.      If you just go to the bottom of the
17     first page.        Not the end of the whole document.
18            A.      Oh, bottom of the first page.                   Sorry, I
19     went to the bottom of the document.
20            Q.      Yeah, sorry.
21                    Bottom of the first page, you'll see
22     his signature there.
23            A.      Yeah.
24            Q.      So okay.       I'm sorry, you said yes?
25            A.      Yes, I did.

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1             Q.      And then have you seen this before?
2                     Is this -- do you recall him
3      circulating this to you?
4             A.      He probably copied me on it.                   I don't
5      know that I read it completely.                    I can tell you
6      at 40 some pages I doubt I read the whole thing.
7             Q.      Okay.
8             A.      We probably talked through it.
9             Q.      If you come to page 6 of the PDF,
10     you'll see it says Executive Summary.
11                    Do you have that?
12            A.      I'm looking for -- what year -- you
13     don't know what page that is, do you?
14            Q.      Page 6.       If you look in the bottom
15     right corner, it's page 6.                 And at the top it
16     says, Executive Summary.
17            A.      Got it.       Yep.
18            Q.      And here in the second paragraph it
19     states, Currently our agency does not, not is in
20     all caps, meet the requirements of the rule.                         Out
21     of the 38 requirements, we only meet 66 percent.
22     Most short falls are Civix related.                      If we accept
23     their items, we are at 81 percent, which is
24     better.
25                    Do you see that?

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1             A.      Yes.
2             Q.      And if you come down below that, do you
3      see the dashboard?
4             A.      Yes.
5             Q.      And under -- it's got a -- a subsection
6      of the rule, a description and then status,
7      whether it's met, fully met, partially met not
8      net or an exception.
9                     Do you see that?
10            A.      Yes.
11            Q.      And am I reading this right that what
12     -- what's indicated in the dashboard below, that
13     indicates what Mr. Hamilton concluded about
14     whether some -- each particular subsection of the
15     rule is met at this time?
16            A.      Yes.     That's his perspective.
17            Q.      Okay.      All right.        We've been going a
18     while.      Why don't we take another short break,
19     Mr. Beaver, and then we'll -- we'll get you out
20     of.    Sorry, you need to leave by 4:15; is that
21     right?
22            A.      Yes.
23            Q.      Okay.      All right.        Let's take a short
24     break.
25                    THE VIDEOGRAPHER:            The time is 2:24.

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1      whole technology team.
2             Q.      All right.        Can you come back, if you
3      would, please, to Exhibit 19, which was the cover
4      e-mail for the remediation task list.
5             A.      Got it.
6             Q.      And so in Mr. Hamilton's e-mail to you
7      he writes, How much do we want to share of this?
8      Normally how we prioritize and what we are
9      working on is not ever meant for public eyes.
10     And then he goes on to say, This level of detail
11     I don't think we should give anyone outside the
12     agency because it can be used to pinpoint where
13     our holes are and give a road map to bad actors.
14                    Do you see that?
15            A.      Yep.
16            Q.      Did you share his concern that if you
17     were going to make public the attachment that it
18     could be used to pinpoint where holes were in the
19     Secretary's network and give a road map to bad
20     actors?
21            A.      I think anytime you reveal any security
22     information about an organization, you give a
23     road map to bad actors.               That is -- that is like
24     the number one thing that bad actors look for is
25     any public information about how a system's

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1      designed, known information about it.                       That's why
2      bad actors typically scan sites all the time
3      looking for holes.            So anytime you give them
4      something, that's not good.                 You're just
5      basically making it even more difficult on
6      yourself to protect your system.
7             Q.      If you can pull up Exhibit 20 again.
8             A.      Yes.
9             Q.      Are there any specific risks in here
10     that you can identify as an example where it --
11     you would be concerned about making them public
12     because of the road map concern?
13            A.      I don't know that I can answer that.                      I
14     -- any risk -- this is what you hear in the paper
15     all the time that, you know, Adobe has no risk.
16     Well, more than likely nobody knows about it but
17     maybe a researcher someplace.                   But as soon as you
18     open it up, now people can say oh, let me go look
19     over there.        I mean, the Internet is a wide
20     field.      As soon as you start to point to well,
21     here is a potential area, it let's people focus
22     on that and you would become more exposed.
23                    That doesn't mean that the risk it --
24     probability of somebody actually penetrating it
25     is very high at all.             Because somebody still has

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1             A.      So the typical configuration of the
2      office is you have a desk on one side, you turn
3      one way and you're working on your PC for daily
4      e-mail and stuff and it's tied to the Internet.
5      And you turn around and you face the opposite
6      direction and you're working on PC that's on the
7      air gap network.
8             Q.      Got it.
9                     Okay.      And so I may have said this
10     before.      How many people have those PCs in their
11     offices?       Just approximately.
12            A.      Oh, five, maybe eight.               It's depending
13     on -- I think at the beginning when we had a big
14     push we had as many as eight.                   But I think
15     they're down to about five now.
16            Q.      Okay.      And then if you come to where --
17     see where it says supports SQL Express and Win
18     10, do you see that, just where we were?
19            A.      Yes.
20            Q.      And then below that it reads, Windows
21     10 running XP guest to access old system.
22                    Do you see that?
23            A.      Yes.
24            Q.      Do you know what that refers to?
25            A.      So we were still -- remember we were

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1      running in parallel in a different environment,
2      the old GEMS system.             Because we hadn't
3      completely switched over.                So they were -- as
4      part of the project they had to make sure that
5      they had the machines that could run the old
6      system, they had machines that could run the new
7      system.      The old system had to run XP because the
8      GEMS application run -- ran with XP.
9             Q.      All right.
10            A.      Two totally different environments.
11            Q.      And just so I understand, when you say
12     two totally different environments, the Dominion
13     EMS server you said was locked in the cage
14     somewhere.        Was the old GEMS system, whatever
15     servers it was still running on, was that locked
16     in a different cage somewhere?
17            A.      It was in a different rack.                  A
18     different rack.           You know what a rack is?
19            Q.      Yes, yes, yes.           So it's all in the same
20     locked cage?
21            A.      Locked area.
22            Q.      But it's on a different server rack?
23            A.      Yes.
24            Q.      Got it.
25                    And you're saying there were no -- no

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